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% A 0 245B    (Rev. 06105) Judgment in a Criminal Case             #1306
              Sheet 1




                        SOUTHERN                                 District of                                 ILLINOIS

          UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                              v.
                    MISTY D. GRADY
                                                                        Case Number:           4:06CR40019-008-JPG

                                                                        USM Number: 06837-025
                                                                        John Abell
                                                                        Defendant's Attorney
THE DEFENDANT:
ljpleaded guilty to count(s)         1 of the Superseding Indictment

   pleaded nolo contendere to count(s)
   which was accepted by the coult.
                                                                                                               htAR-
                                                                                                                   2,   ,T7
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

'l'ille & Section                  Nature of Offense                                                     Offense Ended             Qu
                                                                                                                                    lJ
                                                                                                                                     l


                                    Intent to Distribute 500 Grams or More of Methamphetamine



       The defendant is sentenced as provided in pages 2 through            10          of this judgment. The sentence is imposed pursuant to
the Sentencing Refom Act of 1984.
   The defendant has been found not guilty on count(s)
   Connt(s)                                                 is      are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attomry ior this distnul \\ ith~n30 da s of an\, changc of name, res~dcncc,
or rnallmp address unt~lalltines, restitutlqn, costs, and speclal assessments imposed by th~sjudgmentare fufiy pad.' If ordered to pay restltutlon,
the defendant must rlotlty the court and L nlted States attorney of mater~alchanges In economlc clrcumstanccs.




                                                                         J. Phil Gilbert                             District Judge
                                                                        Name of Judge                              Title ofJudge
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DEFENDANT: MISTY D. GRADY
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                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to he imprisoned for a
 total term of:

  228 months on Count 1 of the Superseding. This is not a departure, but the Court is giving the defendant 12 months credit for
  time sewed on a related State case.


           The court makes the following recommendations to the Bureau of Prisons:

  That the defendant be placed in the Intensive Drug Treatment Program.



      @ The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:

                at                                      a.m.         p.m.     on
                as notified by the United States Marshal.

      [7 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                before 2 p.m. on
                as notified by the United States Marshal.
                as notified by the Probation or Pretrial Services Office


                                                                    RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 at                                                    , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                            BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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A 0 2458                      -
              (Rev. 061051. Judgment in a Criminal Case
              Sheet 3 - Sunervised Release


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                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :

  10 years on Count 1 of the Superseding Indictment.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawful1 possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall su%mitto one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 17 The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a fceaearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
     If this 'ndgment imposes a fme or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule o f l ~ a ~ m e nsheet
                            t s of this judgment.
      The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;
           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month,
           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation offtcer;
           the defendant shall support his or her dependents and meet other family responsibilities;
           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
           the defendant shall r e h i n from excessive use of alcohol and shall not purchase, possess, use, djstribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physlclan;
           the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any ersons en aged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so%y the pro%ationofficer;
  10)      the defendant shall p e p i t a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plaln vtew of the probahon officer;
  11)      the defendant shall notify the probation officer withm seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as direcled by the robation officer, the defendant shall notifylh~rdparties f r~sksthat may be oscas~onedby the defendant's crirmnal
           record or           history or charactenst~csand shall pcrm!t thc probation officer to make such not~ficatlonsand to conlirm the
           defendant s comphance with such nottficat~onrequirement.
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           Sheet 3C - Supervised Release
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                                         SPECIAL CONDITIONS OF SUPERVISION
 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall submit his person, residence, real property, place of business, computer, or vehicle to a search,
 conducted by the United States Probation Officers at a reasonable time and in a reasonable manner, based upon
 reasonable suspicion of contraband or evidence of a violation of a condition of supervision. Failure to submit to a search
 may be grounds for revocation. The defendant shall inform any other residents that the premises may be subject to a
 search pursuant to this condition.

 X The defendant shall cooperate in the collection of DNA as directed by the probation officer.

 X The defendant shall pay any financial penalty that is imposed by this judgment and that remains unpaid at the
 commencement of the term of supervised release. The defendant shall pay the fine in installments of $10.00 per month or
 ten percent of his net monthly income whichever is greater.

 X The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
 with access to any requested financial information. The defendant is advised that the probation office may share financial
 information with the Financial Litigation Unit.

 X The defendant shall apply all monies received from income tax refunds, lottery winnings, judgments, andlor any other
 anticipated or unexpected financial gains to the outstanding court-ordered financial obligation. The defendant shall
 immediately notify the probation officer of the receipt of any indicated monies.

 X The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
 dependence, or alcohol dependence, which includes urinalysis or other drug detection measures and which may require
 residence andlor participation in a residential treatment facility. Any participationwill require complete abstinence from all
 alcoholic beverages. The defendant shall pay for the costs associated with substance abuse counseling andlor testing
 based on a co-pay sliding fee scale approved by the United States Probation Office. Co-pay shall never exceed the total
 costs of counseling.

  X Defendant shall submit within 15 days, not to exceed 52 tests in a one year period for drug urinalysis
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                       Sheet 5 -Criminal Monetary Penalties
                                                                                      #1310

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                                                                        CRIMINAL MONETARY PENALTIES
              The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

                                            Assessment                                        -
                                                                                              Fine                                              Restitution
  TOTALS                              $ 100.00                                             $ 200.00                                       $ 0.00



              The determination of restitution is deferred until                          . An Amended Judgment in a Criminal Case(A0 245C) will be entered
              after such determination.

              The defendant must make restitution (including community restitution) to the following payees in the amount listed below

              If the defendant makes a partial payment, each pa ee shall receive an approximately ro ortioned ayment, unless specified otherwise in
              the priority order or percentage payment column%elow. However, pursuant to 18 J s . 8 . 5 3664$), all nonfederal victims must be paid
              before the United States is pa~d.

 Name of Payee                                                                                 Total*                  Restitution Ordered Priority or Percentaee




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  TOTALS                                                            $              0.00            $                        0.00


                Restitution amount ordered pursuant to plea agreement $

                The defendant must pay interest on restitution and a fme of more than $2,500, unless the restitution or fme is paid in full before the
                fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
                to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

                The court determined that the defendant does not have the ability to pay interest and it is ordered that:
                @ the interest requirement is waived for the                      @ fme            restitution.
                      the interest requirement for the                      fme           restitution is modified as follows:


 * Findings for the total amount of losses are re uired under Chapters 109A, 110,11OA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 199%.
A 0 2458
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           Sheet 6 -Schedule of Payments                        #1311
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                                                      SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A     @ Lump sum payment of $                                due immediately, balance due

                 not later than                                 , Or
                 in accordance                C,       D,         E, or    B ( F below; or

B          Payment to begin immediately (may be combined with              C,          D, or        F below); or

C          Payment inequal                    (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                       (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

D          Payment inequal                     (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                        (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release from unprisonment to a
           term of supervision; or

E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    $i    Special instructions regarding the payment of criminal monetary penalties:
           While on supervised release, the defendant shall make monthly payments in the amount of $10.00 or ten percent
           of his net monthly income, whichever is greater, toward his fine.




Unless the court has express1 ordered otherwise, if this jud ment imposes imprisonment, a ent of criminal monetary penalties is due durin
i m p n s o ~ e p t .All cnminaYmoneta penalhes, except fhose payments made througK c ~ e d e r a Bureau
                                                                                                    l      of Prisons' Inmate Financiaf
Responslbihty Program are made to %e clerk of the court.

?he defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




      Tbe defendant shall pay the cost of prosecution.

      The defendant shall pay the following court cost(s):

      Tbe defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1 assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
( 5 ) fine interest, (6) community restitution, (7)penalties, and (8) costs, including cost of prosecution and court costs.
